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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §   Case No. 2:09CR1(2)
                                                  §
JOSE ANTONIO LEON                                 §


              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Charles Everingham IV regarding Defendant’s plea of guilty to Count 5 of a

superseding indictment with a violation of 21 U.S.C. § 841(a)(1), Possession with intent to distribute

or dispense a controlled substance. Having conducted a proceeding in the form and manner

prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty

plea of the Defendant. Objections to the Findings of Fact and Recommendation have been waived

by all parties. The Court is of the opinion that the Findings of Fact and Recommendation should be

accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed September 9, 2009, are hereby ADOPTED.

       It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds

Defendant GUILTY of Count 5 of the superseding indictment in the above-numbered cause.




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       SIGNED this 1st day of October, 2009.



                                         __________________________________________
                                         T. JOHN WARD
                                         UNITED STATES DISTRICT JUDGE




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